                                                                                         Case 2:19-cv-01886-JAD-VCF Document 13 Filed 07/29/20 Page 1 of 2


                                                                                     1   G. MARK ALBRIGHT, ESQ.
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                                                                                     2   JORGE L. ALVAREZ., ESQ.
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                                                                                         Las Vegas, Nevada 89106
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                                                                                         Fax: 702.384.0605
                                                                                     6   gma@albrightstoddard.com
                                                                                         jalvarez@albrightstoddard.com
                                                                                     7   Attorneys for Plaintiffs
                                                                                     8                                                       UNITED STATES DISTRICT COURT
                                                                                     9
                                                                                                                                                           DISTRCT OF NEVADA
                                                                                    10

                                                                                    11   EDUARDO MARTINEZ, individually, and                                                                 CASE NO.: 2:19-cv-01886-JAD-VCF
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                         IVONNE MARTINEZ, individually
                                                                                    12
                                                                                                                                  Plaintiffs,
                                                                                    13
                                                       A PROFESSIONAL CORPORATION




                                                                                         v.
                                                         LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE




                                                                                    14
                                                           QUAIL PARK, SUITE D-4




                                                                                                                                                                                                STIPULATION AND ORDER TO
LAW OFFICES




                                                                                    15   DIAMOND RESORTS INTERNATIONAL, INC.,                                                                    VACATE AND RESCHEDULE
                                                                                         a Delaware corporation; DIAMOND RESORTS                                                                     STATUS HEARING
                                                                                    16   U.S. COLLECTION DEVELOPMENT, LLC, a
                                                                                         Delaware limited liability company; DIAMOND
                                                                                    17   RESORTS U.S. COLLECTION MEMBERS
                                                                                         ASSOCIATION, a Delaware corporation;
                                                                                    18
                                                                                                                                  Defendants.
                                                                                    19

                                                                                    20
                                                                                                      COME NOW, Plaintiffs, EDUARDO MARTINEZ, indivudally, and IVONNE
                                                                                    21

                                                                                    22   MARTINEZ, individuall (hereafter the “Plaintiffs” or “Martinez”), by and through their

                                                                                    23   undersigned counsel of record, ALBRIGHT, STODDARD, WARNICK & ALBRIGHT, and

                                                                                    24   Defendants, DIAMOND RESORTS INTERNATIONAL, INC., a Delaware corporation;
                                                                                    25   DIAMOND RESORTS U.S. COLLECTION DEVELOPMENT, LLC, a Delaware limited liability
                                                                                    26
                                                                                         company; and DIAMOND RESORTS U.S. COLLECTION MEMBERS ASSOCIATION, a
                                                                                    27
                                                                                         Delaware corporation, by and through their counsel of record, Phillip A. Silvestri, Esq. of
                                                                                    28

                                                                                         G:\Jorge\Martinez, Eduardo (11283.0010)\Pleadings\2020-07-28-SAO to Vacate and Reschedule Status Hearing.docx
                                                                                         Case 2:19-cv-01886-JAD-VCF Document 13 Filed 07/29/20 Page 2 of 2


                                                                                     1                                                                 Martinez v. Diamond Resorts International, Inc.; et al
                                                                                                                                                                       Case No. 2:19-cv-01886-JAD-VCF
                                                                                     2                                                                  SAO to Vacate and Reschedule Status Hearing p. 2

                                                                                     3
                                                                                         GREENSPOON MARDER LLP, and hereby agree and stipulate to the following:
                                                                                     4
                                                                                                 1. That the Status Hearing scheduled for Friday July 31, 2020 at 10:00 a.m. be vacated
                                                                                     5
                                                                                                     based on the information provided in the Joint Status Report filed herein on July 28,
                                                                                     6

                                                                                     7               2020, stating that this matter is still currently in the beginning stages of the arbitration

                                                                                     8               with JAMS; and

                                                                                     9           2. That the stay of this matter continue and the Status Hearing be rescheduled for Friday,
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                    10               November 20, 2020, or as soon thereafter as the Court can set the hearing.
                                                                                    11

                                                                                    12
                                                                                          Dated this 28th day of July, 2020.                        Dated this 28th day of July, 2020.
                                                       A PROFESSIONAL CORPORATION


                                                         LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE




                                                                                    13
                                                           QUAIL PARK, SUITE D-4
LAW OFFICES




                                                                                          ALBRIGHT, STODDARD, WARNICK                               GREENSPOON MARDER LLP
                                                                                    14
                                                                                          & ALBRIGHT
                                                                                    15
                                                                                                /s/ Jorge L. Alvarez, Esq.                                  /s/ Phillip A. Silvestri, Esq.
                                                                                    16    By__________________________________                      By ______________________________
                                                                                          G. MARK ALBRIGHT, ESQ., (001394)                          Phillip A. Silvestri, Esq., (11276)
                                                                                    17    JORGE L. ALVAREZ, ESQ. (014466)                           3993 Howard Hughes Pkwy., #400
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                                                                                          Las Vegas, Nevada 89106
                                                                                          Phone: (702) 384-7111                                     Fax: 954.333.4256
                                                                                    19                                                              phillip.silvestri@gmlaw.com
                                                                                          Email: gma@albrightstoddard.com
                                                                                          Attorneys for Plaintiff                                   Attorney for Defendants
                                                                                    20

                                                                                    21

                                                                                    22                    IT IS SO ORDERED this 29th day of July, 2020.
                                                                                    23     IT IS FURTHER ORDERED
                                                                                           that a telephonic status
                                                                                    24
                                                                                           hearing is scheduled for
                                                                                    25     10:00 AM, November 20,
                                                                                                                                               __________________________________________
                                                                                           2020.
                                                                                    26      The call-in telephone number is (888)              U.S. Magistrate Judge
                                                                                            273-3658, access code: 3912597. The call must
                                                                                    27      be made five minutes prior to the hearing time.
                                                                                            The court will join the call and convene the
                                                                                    28      proceedings. To improve sound quality, the
                                                                                            parties should use a land line, at all possible.
                                                                                            The use of a speaker phone during the                -2-
                                                                                            proceedings is prohibited.
